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                       EXHIBIT 14
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             Compensation Framework for Vessel Physical Damage Claims

1. Eligibility Requirements

      A. Eligible Claimants shall be comprised of claimants who do not fall within the
         exclusions to the Economic Loss and Property Class Definition and who were
         owners of an Eligible Vessel(s) during the time period April 20, 2010 to December
         31, 2011, except for the following:

                i.   Claimants who are owners of an Eligible Vessel(s) that have signed a
                     Receipt and Release Letter Agreement in connection with the BP program
                     to reimburse costs from damage to vessels involved in the Vessels of
                     Opportunity program.

               ii.   Claimants who sustained Physical Damage to an Eligible Vessel while
                     working for an Oil Spill Response Organization or an Oil Spill Removal
                     Organization (OSRO) in the DWH Spill response. However this
                     exclusion shall not apply to claimants who were participating in the
                     Vessels of Opportunity Program.

      B. An Eligible Vessel shall be defined as a vessel, and/or vessel appurtenances, that
         sustained Physical Damage.

      C. Physical Damage shall be defined as physical damage that was sustained by an
         Eligible Claimant’s Eligible Vessel due to or resulting from the DWH Spill or the
         DWH Spill response cleanup operations, including the Vessels of Opportunity
         Program, that were consistent with the National Contingency Plan or specifically
         ordered by the Federal On-Scene Coordinator or delegates thereof. Physical Damage
         shall also include the need for removal of equipment or rigging that was added to an
         Eligible Claimant’s Eligible Vessel to conduct DWH Spill response cleanup
         operations.

                i.   Some examples of Physical Damage include a bent propeller, dents or
                     scratches to a vessel’s hull, damage to a vessel’s engine from the intake of
                     MC252 oil, scratching or staining of a vessel’s paint or gelcoat from
                     coming into contact with MC252 oil and/or dispersants, damage to nets,
                     rakes, traps or other gear used in the harvesting of seafood, or the need for
                     decontamination of MC252 oil from a vessel.

      D. Notwithstanding the above, Physical Damage shall not include the following types of
         damage: i) damage caused by the negligence of an Eligible Claimant or an Eligible
         Vessel’s captain or crew, ii) damage caused by an employee or agent of an OSRO;
         iii) damage caused by an act of God, iv) damage caused by normal wear and tear, or
         v) damage to a trailer or anything else used to transport an Eligible Vessel.




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               i.   Some examples of damage not included in the definition of Physical Damage
                    include, but are not limited to, the following: damage from running aground,
                    damage from contaminated fuel, damage from allision with a fixed object,
                    damage sustained while vessel operator was inebriated, damage caused by
                    violation of the United States Coast Guard’s Navigation Rules, damage from
                    lightning strikes, or damage caused by the unseaworthiness of the vessel.

     E.        Administrator’s Database: The Claims Administrator shall maintain a database
               (“Administrator’s Database”) containing information on Eligible Claimants that
               have signed a Receipt and Release Letter Agreement in connection with the BP
               program to reimburse costs from damage to vessels involved in the Vessels of
               Opportunity program. The Claims Administrator shall check the Administrator’s
               Database to determine whether an Eligible Claimant has signed a Receipt and
               Release Letter Agreement in connection with the BP program to reimburse costs
               from damage to vessels involved in the Vessels of Opportunity program. The
               Administrator’s Database is presumed to be satisfactory evidence of such a
               release.

2. Compensation

     A. An Eligible Claimant must provide the Claims Administrator with satisfactory proof
        of all of the following items below in order to qualify to receive compensation for
        Physical Damage.

          i.    The claimant is an Eligible Claimant.

       ii.      The claimed Physical Damage was sustained by an Eligible Claimant’s Eligible
                Vessel.

      iii.      The Physical Damage occurred between April 20, 2010 and December 31, 2011.

      iv.       The Physical Damage was sustained due to or resulting from the DWH Spill or
                the DWH Spill response cleanup operations, including the Vessels of Opportunity
                Program, that were consistent with the National Contingency Plan or specifically
                ordered by the Federal On-Scene Coordinator or delegates thereof. Satisfactory
                proof shall include operations of the Vessels of Opportunity program or other
                operations approved by BP or the Unified Command.

       v.       The condition of the Eligible Vessel prior to the claimed Physical Damage.

                      a)   As part of the Vessels of Opportunity program, the condition of certain
                           vessels was inspected prior to beginning an operational mission. These




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                     inspections are reflected in documents referred to as the Jackson On-
                     Hire Surveys. The Claims Administrator shall be provided with
                     Jackson On-Hire Surveys for vessels involved in the Vessels of
                     Opportunity program.

    vi.    The Eligible Claimant owned the Eligible Vessel for which Physical Damaged
           is claimed at the time the damage occurred.

    vii.   For an Eligible Claimant claiming to have incurred costs to repair or replace the
           Eligible Vessel, evidence to establish that the costs were incurred by the Eligible
           Claimant and that they were reasonable and necessary.

   viii.   For an Eligible Claimant seeking compensation for costs not yet incurred to
           repair or replace the Eligible Vessel, a cost estimate and proof the costs are
           reasonable and necessary.

   B. An Eligible Claimant must comply with the Claim Form, Document
      Requirements and Verification Statement listed in Appendices A, B and C in order
      to qualify to receive Vessel Damage Compensation.

   C. An Eligible Claimant who claims Physical Damage and satisfies Section 2. A, and
      2. B above shall receive Vessel Damage Compensation. Vessel Damage
      Compensation shall be the lesser of the reasonable and necessary costs to repair or
      replace an Eligible Vessel. Vessel Damage Compensation shall only include the
      cost to replace an Eligible Vessel if the Claims Administrator determines that the cost
      to replace an Eligible Vessel is less than the cost to repair an Eligible Vessel.

      i.   The Claims Administrator shall have the authority to verify any of the criteria
           contained in the Compensation Framework for Vessel Physical Damage Claim
           including, the Eligible Claimant’s claimed repair and/or replacement costs, and
           to undertake an investigation to determine the reasonableness of the costs to repair
           and/or replace the Eligible Vessel, including obtaining an independent estimate.

   D. In no case shall an RTP be applied to Vessel Damage Compensation.




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              Compensation Framework for Vessel Physical Damage Claims
                                     Appendix A
                         Vessel Physical Damage Claim Form


1. Are you claiming you are entitled to compensation for physical damage that occurred to your
   vessel due to or resulting from the DWH Spill or the DWH Spill response cleanup
   operations, including the Vessels of Opportunity Program, during the time period April 20,
   2010 to December 31, 2011?


                                    ____ Yes     ____ No


If you answered yes question 1 above, (i) answer the questions below, (ii) provide the
documentation required in the Document Requirements form (Appendix B), and (iii) complete
a Vessel Physical Damage Verification Statement (Appendix C).


2. What is the vessel’s registration number?

___________________________________________________________________________

___________________________________________________________________________

___________________________________________________________________________

___________________________________________________________________________

___________________________________________________________________________




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3. If your vessel participated in the Vessels of Opportunity program, provide the contract
   number of the Master Charter Vessel Agreement you executed.

___________________________________________________________________________

___________________________________________________________________________

___________________________________________________________________________

___________________________________________________________________________

___________________________________________________________________________


4. Identify and describe the vessel that you claim sustained physical damage due to or resulting
   from the DWH Spill or the DWH Spill response cleanup operations, including the i) make, ii)
   model, iii) year, iv) length, v) capacity, vi) propulsion type, and vessel class (e.g., deck boat,
   dinghy, multihull cruiser, etc.).

___________________________________________________________________________

___________________________________________________________________________

___________________________________________________________________________

___________________________________________________________________________

___________________________________________________________________________



5. Describe the physical damage that you claim was sustained by your vessel due to or resulting
   from the DWH Spill or the DWH Spill response cleanup operations.

___________________________________________________________________________

___________________________________________________________________________

___________________________________________________________________________

___________________________________________________________________________

___________________________________________________________________________

6. Describe what activity your boat was performing at the time of the physical damage that you




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   claim was sustained by your vessel.

___________________________________________________________________________

___________________________________________________________________________

___________________________________________________________________________

___________________________________________________________________________

___________________________________________________________________________



7. Where was your vessel located when the physical damage occurred?

___________________________________________________________________________

___________________________________________________________________________

___________________________________________________________________________

___________________________________________________________________________

___________________________________________________________________________

8. When did the physical damage to your vessel occur?

___________________________________________________________________________

___________________________________________________________________________

___________________________________________________________________________

___________________________________________________________________________

___________________________________________________________________________




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9. Describe in detail what caused the physical damage to your vessel.

___________________________________________________________________________

___________________________________________________________________________

___________________________________________________________________________

___________________________________________________________________________

___________________________________________________________________________

10. If you know, did the physical damage that your vessel sustained result from the DWH Spill
    or the DWH Spill response cleanup operations consistent with the National Contingency Plan
    or specifically ordered by the Federal On-Scene Coordinator or delegates thereof?

                       ____ Yes       ____ No         _____ I Don’t Know




11. Was the damage to your vessel caused by any of the following: i) your fault, ii) the fault of
    the vessel’s captain or crew, iii) an act of God, or iv) normal wear and tear.

                              ____ Yes       ___ No


12. Describe the condition of the vessel prior to the damage you claim occurred.

___________________________________________________________________________

___________________________________________________________________________

___________________________________________________________________________

___________________________________________________________________________

___________________________________________________________________________



13. Did you own the vessel that you claim was damaged at the time the damage occurred?
                                      ____ Yes        ___ No




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14. Have you already incurred the cost to repair or replace the vessel that you claim was
    physically damaged?


                                      ____ Yes       ___ No


15. If your answer to Question 13 is yes, please identify the following:


       a. Was the vessel repaired or replaced?

           _____________________________________________________________________

           _____________________________________________________________________

           _____________________________________________________________________

           _____________________________________________________________________

           _____________________________________________________________________

       b. If the vessel was replaced, state the reasons, in precise detail, that the vessel was
          replaced instead of being repaired.

           _____________________________________________________________________

           _____________________________________________________________________

           _____________________________________________________________________

           _____________________________________________________________________

           _____________________________________________________________________


       c. If the vessel was replaced, state the name and address of the individual or business
          from which the replacement vessel was obtained and the cost you incurred to replace
          the vessel.
           _____________________________________________________________________

           _____________________________________________________________________




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           _____________________________________________________________________

           _____________________________________________________________________

       d. If the vessel was repaired, state the name and address and telephone number of the
          individual or business that did the repairs, the cost you incurred to repair the vessel,
          and identify the repairs that were done.
           _____________________________________________________________________

           _____________________________________________________________________

           _____________________________________________________________________

           _____________________________________________________________________

           _____________________________________________________________________




16. If the answer to Question 13 is no, identify the following:


       a. State whether the vessel can be repaired:


                                      ____ Yes        ___ No


       b. Have you obtained a cost estimate to repair the vessel?
                                      ____ Yes        ___ No




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    c. If you have obtained a cost estimate to repair the vessel, state the name address and
       phone number of the individual or entity that provided the cost estimate, what repairs
       are being done and the amount of the cost estimate for the repairs.
       _____________________________________________________________________

       _____________________________________________________________________

       _____________________________________________________________________

       _____________________________________________________________________

       _____________________________________________________________________


    d. If you claim that the vessel cannot be repaired, explain in precise detail the reasons
       for your claim.
       _____________________________________________________________________

       _____________________________________________________________________

       _____________________________________________________________________

       _____________________________________________________________________

       _____________________________________________________________________



    17. Have you signed a Receipt and Release Letter Agreement in connection with the BP

       program to reimburse costs from damage to vessels involved in the Vessels of

       Opportunity program.

                                   ____ Yes      ___ No




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               Compensation Framework for Vessel Physical Damage Claims
                                      Appendix B
                          Vessel Physical Damage Claim Form
                                Document Requirements

To receive compensation under the Compensation Framework for Vessel Physical Damage
Claims you must provide copies of the documents described below.

1. Owners of vessels seeking compensation under the Compensation Framework for Vessel
   Physical Damage Claims must provide each of the following:

       a. A copy of the title for the vessel for which you are seeking compensation;

       b. A copy of the registration for the vessel for which you are seeking compensation; and

       c. Completed Verification Statement.

2. Owners of vessels seeking compensation under the Compensation Framework for Vessel
   Physical Damage Claims must provide the Claims Administrator with proof of the items
   below. Proof may consist of documents, receipts, invoices, estimates, photographs,
   catalogues, advertisements, pricelists for vessels or vessel parts, videotaped footage, a sworn
   statement from the claimant and/or sworn statements from a witness(es).

       a. The claimed physical damage to your vessel was due to or resulting from the DWH
          Spill or the DWH Spill response cleanup operations.

       b. The claimed physical damage to your vessel was not caused by any of the following:
          i) you, ii) the vessel’s captain or crew, iii) an act of God, or iv) normal wear and tear.

       c. The physical damage occurred between April 20, 2010 and December 31, 2011.

       d. The condition of the vessel prior to the claimed physical damage.

       e. You owned the vessel at the time the physical damage occurred.

       f. If you claim to have incurred costs to repair or replace the vessel, evidence to
          establish the costs, that you incurred and that they were reasonable and necessary.




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    g. If you are seeking compensation for costs not yet incurred to repair or replace the
       vessel, one or more cost estimates to repair or replace the vessel and proof that the
       cost estimates are reasonable and necessary.
    h. Signing the Verification Statement will qualify as support for subsections a, b, c, d
       and e above.




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                Compensation Framework for Vessel Physical Damage Claims
                                      Appendix C
                     Vessel Physical Damage Verification Statement

I, _________________________________, owned the vessel(s) for which I am submitting this
claim during the time period April 20, 2010 to December 31, 2011, and the physical damages for
which I seek compensation were due to or resulting from the DWH Spill or the DWH Spill
response cleanup operations.


        I have not signed a Receipt and Release Letter Agreement in connection with the BP
program to reimburse costs from damage to vessels involved in the Vessels of Opportunity
program.


        The physical damage that I claim was sustained to my vessel was not caused by any of
the following: i) my fault, ii) the fault of the vessel’s captain or crew, iii) an act of God, or iv)
normal wear and tear.


        The physical damage that I claim was sustained to my vessel did not occur while working
for an Oil Spill Response Organization or an Oil Spill Removal Organization (OSRO) in the
DWH Spill response (However - You should check this box if your vessel damage occurred
while you were working in Vessels of Opportunity Program).


I declare and affirm under penalty of perjury under the laws of the United States of America that
the foregoing is true and correct.

________________________________________
Signature

________________________________________
Date




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